                                                                                027,21*5$17('


                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
       v.                               )    No. 3:12-CR-00219(5)
                                        )
COREY LEE SMITH                          )
                             MOTION FOR EXTENSION OF TIME

       COMES NOW the Defendant, Corey Lee Smith, by and through undersigned counsel, and

respectfully moves this Court for an extension of time in which to file the Defendant’s

Memorandum in Support of Motion to Suppress. As grounds for same, it is submitted to the Court

that co-counsel, John Nicoll was appointed to represent Defendant Smith on March 20, 2014.

Defense Counsel Nicoll will be meeting with the Defendant on or about April 7, 2014, and will be

able to effectively confer with the undersigned as regarding the previously filed Motion to

Suppress. Assistant U.S. Attorney Hannafan has expressed no opposition to Defendant’s motion.

       Wherefore, it is respectfully requested that this Honorable Court grant an extension of time

in which to file the Defendant’s Memorandum in Support of Motion to Suppress.

       Dated this the 3st day of March, 2014.

                                               By: /s/ Stephanie D. Ritchie
                                               Stephanie D. Ritchie #024883
                                               Attorney for Defendant
                                               136 Franklin Street, Suite 200
                                               Clarksville, TN 37040
                                               (931) 648-9400

                                   CERTIFICATE OF SERVICE
        I hereby certify that on the 3st day of March, 2014, I electronically filed the foregoing with
the clerk of the court by using the CM/ECF system which will send a notice of electronic filing to
the following: Brent Adams Hannafan, Assistant US Attorney and John Nicoll, Attorney for
Defendant.

                                               /s/ Stephanie D. Ritchie
                                               Stephanie D. Ritchie




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